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                           UNITED STATES DISTRICT COURT
                             Eastern District of Pennsylvania
                                    U.S. Court House
                                Independence Mall West
                                 601 Market Street
                              Philadelphia, PA 19106-1797
                                     215-597-3978


 June 25, 2024

 NOTICE OF TELEPHONE CONFERENCE:

 RE:    24-2716, LEI et al v. CITY OF PHILADELPHIA
 Counsel,

 Please be advised that a telephone conference is scheduled for Monday, July 1,
 2024 at 10:30 AM to discuss Plaintiffs' Motion for Temporary Restraining Order
 (ECF #5). The call-in information is below.



  TEL: 866-390-1828
  CODE: 9101355#
                                                  s/Joseph B. Walton
                                                  ______________________
                                                  Joseph B. Walton
                                                  Deputy to Judge Brody



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